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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF FLORIDA
                                 GAINESVILLE DIVISION
In Re:
GOODRICH, BARBARA ELLEN                      Case Case No 18-10135GVL1
                                                  Chapter 7
                    Debtor(s)
             _______________________________________________________________

                           REPORT AND NOTICE OF INTENTION
                      TO SELL PROPERTY OF THE ESTATE TO DEBTOR

TO:    Debtor(s), Creditors, and Parties in Interest:


                             NOTICE OF OPPORTUNITY TO
                                OBJECT AND FOR HEARING

         Pursuant to Local Rule 2002-2, the Court will consider the relief requested in this paper
 without further notice or hearing unless a party in interest files a response within 21 days from the
 date set forth on the proof of service plus an additional three days for service if any party was
 served by U.S. Mail, or such other period as may be specified in Fed. R. Bankr. P. 9006(f).

         If you object to the relief requested in this paper, you must file an objection or response
 electronically with the Clerk of the Court or by mail at 110 E. Park Avenue, Suite 100, Tallahassee,
 FL, 32301 and serve a copy on the movant’s attorney, Theresa M. Bender, Trustee, P.O. Box
 14557, Tallahassee, FL. 32317, and any other appropriate person within the time allowed. If you
 file and serve
 a response within the time permitted, the Court will either schedule and notify you of a hearing or
 consider the response and grant or deny the relief requested without a hearing.

         If you do not file a response within the time permitted, the Court will consider that you do
 not oppose the relief requested in the paper, will proceed to consider the paper without further
 notice or hearing, and may grant the relief requested.



      NOTICE IS HEREBY GIVEN that the Trustee/debtor-in-possession intends to sell the following
property of the estate of the debtor(s), under the terms and conditions set forth below:

      1)   Description and Value of Property: Non-exempt equity in assets scheduled by the
            Debtor(s).
            EQUITY IN PERSONAL PPTY:
              HH GOODS $75
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               ELECTRONICS $325
               CLOTHING $50
              JEWELRY $250
               2 DOGS $50
               BANK ACCT $114
             SUB-TOTAL: $864.00
             4 payments of $216.00

      2)     Manner of Sale:       Private (x )* Public Auction ( )

      3)     Terms of Sale:

        a)      Purchaser(s)GOODRICH, BARBARA ELLEN, Debtors.

        b)     “As is,” “where is” with no warranties expressed or implied;
              This sale is subject to any scheduled, known or unknown, liens, encumbrances, and
              Debtor’s exemptions; and the Purchaser(s) is/are responsible for all payments to Lien
              Holders, Tax Assessors, etc.

        c)      Assets and Terms as spelled out in the promissory note executed by Debtor(s);

        d)      Selling price as negotiated between the parties and as more fully stated in executed
                Promissory Note held by the Trustee.

        e) All payments shall be made to Theresa M. Bender, Trustee, P.O. Box 14557,
              Tallahassee, Florida 32317.

*The purchase price(s) was/were established by review of the schedules and any additional documents
      or testimony provided by parties, negotiated in good faith, and based on the principles of best
      business judgment.

*(Applicable to private sales only.) The Trustee will entertain any higher bids of 25% or more for the
      purchase of the assets of the debtor(s) which the Trustee proposes to sell. Such bids must be in
      writing and accompanied by a deposit of 20% of the proposed higher purchase price. Any
      higher bid must be received, with the applicable deposit) by the Trustee at the address listed
      below no later than the close of business 15 days from the date of this Notice.

NOTICE IS HEREBY GIVEN that all objections to the same must state the basis of the objection. If no
objection is filed, the sale described above will take place.
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Date:8/16/2018                           /s/ Theresa M. Bender
                                         THERESA M. BENDER
                                         CHAPTER 7 TRUSTEE
                                         P.O. Box 14557
                                         Tallahassee, Florida 32317
                                         PH: 850.205.7777
                                         FL Bar No. 0749486
                                         Tmbenderch7@yahoo.com

                                      CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing Report and Notice of
Intention to Sell Property of the Estate has been furnished by Electronic Mail, or by U.S. mail within
two business days, to GOODRICH, BARBARA ELLEN, 23932 NW 188TH AVENUE HIGH
SPRINGS, FL, 32643,; ,;STEVEN R SERRA , 515 SW 1ST AVENUE, FORT LAUDERDALE, FL,
33301and Charles F. Edwards, Esq., U.S. Trustee, 110 East Park Ave., Suite 128, Tallahassee, FL.
32301.

Dated: 8/16/2018                                  /s/ Theresa M. Bender
